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       Transcription of Notes of Associate Deputy Attorney General Tashina Gauhar
                                      Dated 1/25/2017
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                                                                     -Baker     NSD - Mary
                                                                     - Priestap       GZT
                                                                     - Strzok         Stu
                                                                     - [REDACTED]
                                                                                ODAG- Tash
                                                                                      Scott
                                                                                [REDACTED]
Read out from FBI              Wed. 1/25/17.
     of meeting w/F.
Investigation:
    (1) Q → influence; unsub investigation
             looked at numerous, F being 1. opened P.I.
        started last summer.
        as summer progressed –
             had not seen things to point to initial issue
             Nov. → looking to close F. as agent 1st [U/I]
                     o then recovered calls
             Nov-Dec → calls.
                     o requests to foreign partners
                        info came back → legitimate
             Media leaks- re intercepts
                     investigation in the open → changed the dynamic.
                     need to resolve. Completed non-alerting investigative steps.
        *Decision to Interview →
             12:30 outreach – Asked to Interview – w/couple agents
                        to talk about news. * said to DD – you have the calls
             (2:30) Just F. Did not ask for any parameters.
                (per Baker – if want someone else, just let us know)
             F said spoke to D.D.
            told there to talk about coms prior to inaug.
He said should           - DIA- interaction w/ GRU
start w/ history        - Discussion of paid speech through Speakers Bureau.
                         went through various calls.
                              Discussion of what had been in news
                                  meeting; conference; calls re condolences,
                              Maintain + Establish relationships
                             + Need Dialogue
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*4 + 1  if can take on off the table, he wants to.
*Key – fight radical Islam
       sculpted his conversation.

Q: Gameplan going in?
A: Goal  use to determine if clandestine or agency relationship
           to inform that understanding.
             Ask + see what he would say about them
             Decided NOT to show the cuts.
                      objective appearance that not leaning
                         in other direction
                      try to “jog” his memory –
                      Get a sense  being forthright
                      [U/I]

Q: Intro?
A: No False stmt or intro that under investigation.
        Ready to do so if needed, but didn’t
        Started w/thanks for voluntarily meeting + know busy.
        Didn’t ask about investigation.

Q: Timing – why yesterday?
A: B/C what was in the press.
       Discussion By administration.

   timeframe – Israel } Did not
   Post – Russian Sanctions } tell either of these.
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   Said doing exercise to reach out to other countries.
    Called 30 or more countries w/ multiple individuals.
    Said only K. w/Russia.
       FBI  says checked + is consistent w/ tech cuts.

   FBI asked of 2
    1) Do you recall convo about UN vote re resolution
       re Israel.
                Yes, thank you for reminding me.
                   recalled + calling.
       Did you asked any country to do anything?
          (A) NO
       Did you ask for delay?
          (A) NO [U/I] referenced Eygpt.
       Did ask for vote/outcome?
          (A) NO

          then decided to move on.
              FBI assesed – yes false + inaccurate
                 But believe that F. Believes
                 that was he said was true.

    2) Recall call about expulsion of + closing
       (A) NO.
       Recall call about escalation + tit for tat (using his words)
       (A) NO – B/C didn’t know about it +
              saw on the news.
       Recall where you got a call where they are moderate
       (A) NO.
       then third time, is possible But don’t
           remember + wouldn’t have done that.
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        -   Concluded with housekeeping

           Asked # of calls
           Didn’t remember the #,

        Did not ask about stmts made on the press.
          Decision to keep about F’s comms w/K.

[1st stmts 13th + 15th]

FBI – largely telling truth as believed it
       Even though contradicting?

        -   Know have cuts
        -   Have set up immediately
        -   Didn’t have anyone w/him
        -   So affirmative in answer
            So focused on Radical Islam

FBI – CI Defensive Briefings

   CI  Do not think agent, but need to verify
   CRM  not willing to say at this point now.
   Compromise  Defensive Briefing
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                          Transcription of Notes of DAD Peter Strzok
                                Undated (but likely 1/25/2017)
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[]
[REDACTED]




1130: Mary, George, Stu, Scott Schools, Tash, JB, [REDACTED], Bill
[REDACTED]
[] [REDACTED]
George: who/appropriate to tell WH to stop making
       false statements
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Is his recollection accurate since we didn’t
     confirm/correct it
George: No reasonable pros do Logan Act
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                   Notes of Deputy Attorney General Dana Boente
                                   Dated 03/30/17
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NSD/CES Russia/ MAR 30, 2017


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[REDACTED]
Michael Flynn
    - couple of
    - pulling SF-86.
    - preserved equip as NS advisor.
    - do not view as source
of collusion.
    - Logan Act
    - FARA.
